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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                MedAvail, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Dash Rx, Inc.
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  4720 East Cotton Gin Loop, Suite 220
                                  Phoenix, AZ 85040
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Maricopa                                                        Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.medavail.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    MedAvail, Inc.                                                                               Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 4539

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
     A debtor who is a “small             Chapter 9
     business debtor” must check
                                          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
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Debtor    MedAvail, Inc.                                                                                  Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor      See Rider 1                                                   Relationship

                                                     District    Delaware                     When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion



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Debtor   MedAvail, Inc.                                                             Case number (if known)
         Name


16. Estimated liabilities    $0 - $50,000                               $1,000,001 - $10 million             $500,000,001 - $1 billion
                             $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                             $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                             $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
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Debtor    MedAvail, Inc.                                                                           Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      February 2, 2024
                                                  MM / DD / YYYY


                             X                                                                            Ramona Seabaugh
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Chief Financial Officer




18. Signature of attorney    X       Mark L. Desgrosseilliers                                              Date February 2, 2024
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Mark L. Desgrosseilliers 4083
                                 Printed name

                                 Chipman Brown Cicero & Cole, LLP
                                 Firm name

                                 Hercules Plaza
                                 1313 North Market Street, Suite 5400
                                 Wilmington, DE 19801
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (302) 295-0192                Email address      desgross@chipmanbrown.com

                                 4083 DE
                                 Bar number and State




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                                             RIDER 1

        Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor


         On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a
petition in the United States Bankruptcy Court for the District of Delaware for relief under chapter
11 of title 7 of the United States Code.

                                                EMPLOYER/BUSINESS
                       DEBTOR                                                   JURISDICTION
                                              IDENTIFICATION NUMBER


 MedAvail Holdings, Inc.                            XX-XXXXXXX                     Delaware


 MedAvail, Inc.                                     XX-XXXXXXX                     Delaware


 MedAvail Technologies (US), Inc.                   XX-XXXXXXX                     Delaware
 MedAvail Pharmacy, Inc.
 (d/b/a Spot Rx Pharmacy)                           XX-XXXXXXX                      Arizona


 MedAvail Technologies, Inc.                        XX-XXXXXXX                       Canada




4890-2650-9473, v. 2
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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                             Chapter 7

    MEDAVAIL HOLDINGS, INC., et al.,1                  Case No. 24-xxxxx (xxx)

                  Debtors.



             DEBTORS’ CONSOLIDATED CORPORATE OWNERSHIP STATEMENT
                AND LIST OF EQUITY INTEREST HOLDERS PURSUANT TO
                   FED. R. BANKR. P. 1007(A)(1), 1007(A)(3), AND 7007.1

             Pursuant to Rules 1007(a)(1), 1007(a)(3), and 7007.1 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”), the above-captioned debtors and debtors in possession (the

“Debtors”), to the best of their knowledge, information, and belief, hereto state as follows:

             1.     MedAvail Holdings, Inc. (“Holdings”), owns one hundred percent (100%) of the

stock of MedAvail, Inc.

             2.     Debtor MedAvail, Inc., owns one hundred percent (100%) of each of Debtors’

MedAvail Pharmacy, Inc., MedAvail Technologies, Inc., and MedAvail Technologies (US), Inc.

             3.     A list of Holdings’ equity interest holders and the nature of their equity interests is

attached hereto as Exhibit A.




1
      The Debtors in these cases, along with the last four digits of their respective federal tax identification numbers,
      are as follows: MedAvail Holdings, Inc. (2394); MedAvail, Inc. (8795); MedAvail Technologies (US), Inc.
      (4085); MedAvail Pharmacy, Inc. (5604); and MedAvail Technologies, Inc., a Canadian corporation (9547). The
      Debtors’ principal place of business and service address is 2196 East Camelback Road, Suite 200, Phoenix,
      Arizona 85016. Copies of pleadings may be obtained from the website of the United States Bankruptcy Court
      for the District of Delaware www.deb.uscourts.gov.
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                                           Exhibit A


                         List of Holding’s Equity Interest Holders




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Shareholder List -All Shareholders                                                                                                                                                                                                                                                                                           Date Run: Jan 11, 2024
MEDAVAIL HOLDINGS INC COMMON STOCK                                                                                                                                                                                                                                                                                            Time Run: 8:42:04 PM
As of Date : Dec 31, 2023


                                                                                                                                                                       Sort By:

 Account Number                                            Name                            Shares              Date Opened     Date Closed            Address1                                Address2                              Address3                          City                     State            Zip     Country        Alternate Client ID   % of Total
12719-67             ABG WTT-MEDAVAIL LIMITED                                             222,870.000000 08/07/2023                                        UNIT 3002-300R 30/F             GLOUCESTER TOWER THE LANDMARK                                15 QUEEN'S ROAD CENTRAL                                          HONG KONG                              13.8%
12719-40             ABG WTT-MEDAVAIL LIMITED C/O ABG-WTT GLOBAL LIFE SCIENCE CAP          75,641.000000 08/07/2023                           PARTNERS GP LTD # 3002-3004 30/F      GLOUCESTER TOWER 15 QUEENAS RD CENTRAL                              HONG KONG                                                        HONG KONG                               4.7%
12719-41             ABRAHAM PEROFSKY                                                          9.000000 08/07/2023                                                  [REDACTED]                                                                                               [REDACTED]    [REDACTED]     [REDACTED]     [REDACTED]                              0.0%
12719-53             ALEX GLASENBERG                                                          70.000000 08/07/2023                                                  [REDACTED]                                                                                               [REDACTED]    [REDACTED]     [REDACTED]     [REDACTED]                              0.0%
12719-39             ALEXANDER TESS                                                            5.000000 08/07/2023                                                  [REDACTED]                                                                                               [REDACTED]    [REDACTED]     [REDACTED]     [REDACTED]                              0.0%
12719-42             ALLY BRIDGE MEDALPHA MASTER FUND LP                                  116,184.000000 08/07/2023                             C/O ALLY BRIDGE GROUP NY LLC                        430 PARK AVENUE 12TH FLR   ATTENTION: DANIEL JOHNSON NEW YORK                         NY            10022          UNITED STATES                             7.2%
12719-33             ANDY PONTE                                                                5.000000 08/07/2023                                                  [REDACTED]                                                                                               [REDACTED]    [REDACTED]     [REDACTED]     [REDACTED]                              0.0%
12719-22             ANTHONY J. COLISTRA                                                       6.000000 08/07/2023                                                  [REDACTED]                                                                                               [REDACTED]    [REDACTED]     [REDACTED]     [REDACTED]                              0.0%
12719-43             BLAIR SHERMAN                                                             9.000000 08/07/2023                                                  [REDACTED]                                                                                               [REDACTED]    [REDACTED]     [REDACTED]     [REDACTED]                              0.0%
12719-28             BRIAN MCGRATH                                                             2.000000 08/07/2023                                                  [REDACTED]                                                                                               [REDACTED]    [REDACTED]     [REDACTED]     [REDACTED]                              0.0%
12719-81             BROADRIDGE (BREAKAGE ACCOUNT)                                             0.000000 11/22/2023                                          51 MERCEDES WAY                                                                             EDGEWOOD                          NY            11717          UNITED STATES                             0.0%
12719-54             CAMERON UHREN                                                             3.000000 08/07/2023                                                  [REDACTED]                                                                                               [REDACTED]    [REDACTED]     [REDACTED]     [REDACTED]                              0.0%
12719-77             CEDE & CO                                                            691,825.000000 07/26/2023                              570 WASHINGTON BOULEVARD                                                                               JERSEY CITY                       NJ            07310          UNITED STATES                            42.7%
12719-31             CHRISTOPHER DEWEY                                                        11.000000 08/07/2023                                                  [REDACTED]                                                                                               [REDACTED]    [REDACTED]     [REDACTED]     [REDACTED]                              0.0%
12719-19             DANIEL J. FRIEDMAN                                                        6.000000 08/07/2023                                                  [REDACTED]                                                                                               [REDACTED]    [REDACTED]     [REDACTED]     [REDACTED]                              0.0%
12719-9              DARRELL SCHWABE                                                           2.000000 08/07/2023                                                  [REDACTED]                                                                                               [REDACTED]    [REDACTED]     [REDACTED]     [REDACTED]                              0.0%
12719-7              DAVID J. VIGLIANO                                                        13.000000 08/07/2023                                                  [REDACTED]                                                                                               [REDACTED]    [REDACTED]     [REDACTED]     [REDACTED]                              0.0%
12719-15             DAVID MATLIN                                                              1.000000 08/07/2023                                                  [REDACTED]                                                                                               [REDACTED]    [REDACTED]     [REDACTED]     [REDACTED]                              0.0%
12719-37             DAVID MCLOUGHLIN                                                          5.000000 08/07/2023                                                  [REDACTED]                                                                                               [REDACTED]    [REDACTED]     [REDACTED]     [REDACTED]                              0.0%
12719-6              DAVID POLOS                                                               2.000000 08/07/2023                                                  [REDACTED]                                                                                               [REDACTED]    [REDACTED]     [REDACTED]     [REDACTED]                              0.0%
12719-82             DWAC PASS THROUGH ACCOUNT                                                 0.000000 12/06/2023           12/06/2023                              ATTN: IWS                             51 MERCEDES WAY                              EDGEWOOD                          NY            11717-8368     UNITED STATES                             0.0%
12719-35             ELIZABETH GERVAIS                                                         5.000000 08/07/2023                                                  [REDACTED]                                                                                               [REDACTED]    [REDACTED]     [REDACTED]     [REDACTED]                              0.0%
12719-1              EQUINITI EXCHANGE AGENT FOR 23906 MEDAVAIL HOLDINGS INC                   0.000000 07/26/2023           08/30/2023                           6201 15TH AVE                                                                         BROOKLYN                          NY            11219          UNITED STATES                             0.0%
12719-2              EQUINITI EXCHANGE AGENT FOR 23915 MEDAVAIL HOLDINGS INC                   0.000000 07/26/2023           11/17/2023                           6201 15TH AVE                                                                         BROOKLYN                          NY            11219          UNITED STATES                             0.0%
12719-3              EQUINITI EXCHANGE AGENT FOR 23939 MEDAVAIL HOLDINGS INC                   0.000000 07/26/2023           11/17/2023                           6201 15TH AVE                                                                         BROOKLYN                          NY            11219          UNITED STATES                             0.0%
12719-4              EQUINITI FRACTIONS FOR CIL MEDAVAIL                                       0.000000 08/01/2023           08/11/2023                           6201 15TH AVE                                                                         BROOKLYN                          NY            11219          UNITED STATES                             0.0%
12719-68             FCP BIOTECH HOLDING GMBH                                              37,647.000000 08/07/2023                                          FREIHAMER STR 2                                                                            82166 GRAEFELFING                                                  GERMANY                               2.3%
12719-44             FORAY GROUP INC.                                                          2.000000 08/07/2023                                               445 HOOD ROAD                                                                          MARKHAM                           ON            L3R 8H1              CANADA                              0.0%
12719-34             FRANK BAGLIERI                                                            0.000000 08/07/2023           12/11/2023                             [REDACTED]                                                                                               [REDACTED]    [REDACTED]     [REDACTED]     [REDACTED]           [REDACTED]         0.0%
12719-61             FRANK DANDREA                                                            13.000000 08/07/2023                                                  [REDACTED]                                                                                               [REDACTED]    [REDACTED]     [REDACTED]     [REDACTED]           [REDACTED]         0.0%
12719-10             GERALD J. FERRANTE                                                        3.000000 08/07/2023                                                  [REDACTED]                                                                                               [REDACTED]    [REDACTED]     [REDACTED]     [REDACTED]           [REDACTED]         0.0%
12719-32             GIUSEPPE FORGIONE                                                       137.000000 08/07/2023                                                  [REDACTED]                                                                                               [REDACTED]    [REDACTED]     [REDACTED]     [REDACTED]           [REDACTED]         0.0%
12719-55             GRAEME HIBBERD                                                           44.000000 08/07/2023                                                  [REDACTED]                                                                                               [REDACTED]    [REDACTED]     [REDACTED]     [REDACTED]           [REDACTED]         0.0%
12719-17             HJS FOUNDATION INC.                                                      12.000000 08/07/2023                                        471 MOUNTAIN ROAD                                                                             CROWNSVILLE                       MD            21032          UNITED STATES                             0.0%
12719-62             HOWARD ORTMAN                                                            30.000000 08/07/2023                                                  [REDACTED]                                                                                               [REDACTED]    [REDACTED]     [REDACTED]     [REDACTED]           [REDACTED]         0.0%
12719-56             JAKJEF INVESTMENTS LIMITED                                              245.000000 08/07/2023                                          141 ADELAIDE ST W                                      SUITE 121                            TORONTO                           ON            M5H 3L5              CANADA                              0.0%
12719-57             JAMES COCHRANE                                                          162.000000 08/07/2023                                                  [REDACTED]                                                                                               [REDACTED]    [REDACTED]     [REDACTED]     [REDACTED]           [REDACTED]         0.0%
12719-14             JAMIE LIFTON                                                              5.000000 08/07/2023                                                  [REDACTED]                                                                                               [REDACTED]    [REDACTED]     [REDACTED]     [REDACTED]           [REDACTED]         0.0%
12719-45             JAMIESON MOTOR PRODUCTS LIMITED                                         125.000000 08/07/2023                                               64 WALTON AVE                                                                          KITCHENER                         ON            N2C 2B5              CANADA                              0.0%
12719-12             JOANNE GOODFORD                                                           4.000000 08/07/2023                                                  [REDACTED]                                                                                               [REDACTED]    [REDACTED]     [REDACTED]     [REDACTED]           [REDACTED]         0.0%
12719-24             JOHN BESS LLC                                                             5.000000 08/07/2023                                    2720 DONALD ROSS ROAD                                         UNIT 302                            PALM BEACH GARDENS                FL            33410          UNITED STATES                             0.0%
12719-74             JOHN DAVID GIBBINS                                                        9.000000 08/07/2023                                                  [REDACTED]                                                                                               [REDACTED]    [REDACTED]     [REDACTED]     [REDACTED]           [REDACTED]         0.0%
12719-46             JOHN RUBY                                                                39.000000 08/07/2023                                                  [REDACTED]                                                                                               [REDACTED]    [REDACTED]     [REDACTED]     [REDACTED]           [REDACTED]         0.0%
12719-27             JOSEPH M. FORGIONE                                                       22.000000 08/07/2023                                                  [REDACTED]                                                                                               [REDACTED]    [REDACTED]     [REDACTED]     [REDACTED]           [REDACTED]         0.0%
12719-8              JOSEPH MANNELLO                                                          16.000000 08/07/2023                                                  [REDACTED]                                                                                               [REDACTED]    [REDACTED]     [REDACTED]     [REDACTED]           [REDACTED]         0.0%
12719-75             LAWRENCE MAULSBY                                                          3.000000 08/07/2023                                                  [REDACTED]                                                                                               [REDACTED]    [REDACTED]     [REDACTED]     [REDACTED]           [REDACTED]         0.0%
12719-47             LOTTO-CALC ENTERPRISES INC.                                              12.000000 08/07/2023                              15 WERTHEIM COURT SUITE 503                                                                             RICHMEOND HILL                    ON            L4B 3H7              CANADA                              0.0%
12719-11             LOUIS JOSEPH ARONNE                                                      32.000000 08/07/2023                                                  [REDACTED]                                                                                               [REDACTED]    [REDACTED]     [REDACTED]     [REDACTED]           [REDACTED]         0.0%
12719-66             MAG & CO FBO FIDELITY SELECT PORTFOLIOS: BIOTECHNOLOGY PORTFOLIO         55.000000 08/07/2023                           BROWN BROTHERS HARRIMAN & CO                                     140 BROADWAY                              NEW YORK                          NY            10005          UNITED STATES                             0.0%
12719-65             MAG & CO FBO FIDELITY SELECT PORTFOLIOS: PHARMACEUTICALS PORTFOLIO       66.000000 08/07/2023                           BROWN BROTHERS HARRIMAN & CO                                     140 BROADWAY                              NEW YORK                          NY            10005          UNITED STATES                             0.0%
12719-48             MARK PARELIUS                                                           106.000000 08/07/2023                                                  [REDACTED]                                                                                               [REDACTED]    [REDACTED]     [REDACTED]     [REDACTED]           [REDACTED]         0.0%
12719-25             MARK PATTERSON                                                           87.000000 08/07/2023                                                  [REDACTED]                                                                                               [REDACTED]    [REDACTED]     [REDACTED]     [REDACTED]           [REDACTED]         0.0%
12719-58             MATTHEW BARRETT                                                          54.000000 08/07/2023                                                  [REDACTED]                                   [REDACTED]                                                  [REDACTED]    [REDACTED]     [REDACTED]     [REDACTED]           [REDACTED]         0.0%
12719-49             MICHAEL HORROCKS                                                        113.000000 08/07/2023                                                  [REDACTED]                                                                                               [REDACTED]    [REDACTED]     [REDACTED]     [REDACTED]           [REDACTED]         0.0%
12719-21             MICHAEL WATZKY                                                           11.000000 08/07/2023                                                  [REDACTED]                                                                                               [REDACTED]    [REDACTED]     [REDACTED]     [REDACTED]           [REDACTED]         0.0%
12719-36             MICHELLE MALES                                                            5.000000 08/07/2023                                                  [REDACTED]                                                                                               [REDACTED]    [REDACTED]     [REDACTED]     [REDACTED]           [REDACTED]         0.0%
12719-38             MIKE SILANO                                                               5.000000 08/07/2023                                                  [REDACTED]                                                                                               [REDACTED]    [REDACTED]     [REDACTED]     [REDACTED]           [REDACTED]         0.0%
12719-16             NATHAN M. BRAWN                                                           5.000000 08/07/2023                                                  [REDACTED]                                   [REDACTED]                                                  [REDACTED]    [REDACTED]     [REDACTED]     [REDACTED]           [REDACTED]         0.0%
12719-79             NOMINEE FOR MYOS CORP UNEXCHANGED                                       233.000000 11/17/2023                                           C/O BROADRIDGE                                51 MERCEDES WAY                              EDGEWOOD                          NY            11717-8368     UNITED STATES                             0.0%
12719-78             NOMINEE FOR MYOS RENS TECHNOLOGY INC UNEXCHANGED                       3,123.000000 11/17/2023                                          C/O BROADRIDGE                                51 MERCEDES WAY                              EDGEWOOD                          NY            11717-8368     UNITED STATES                             0.2%
12719-29             PASQUALE IOSSA                                                            1.000000 08/07/2023                                                  [REDACTED]                                                                                               [REDACTED]    [REDACTED]     [REDACTED]     [REDACTED]           [REDACTED]         0.0%
12719-18             PAUL A. SERINI                                                           18.000000 08/07/2023                                                  [REDACTED]                                                                                               [REDACTED]    [REDACTED]     [REDACTED]     [REDACTED]           [REDACTED]         0.0%
12719-23             PAUL INTLEKOFER                                                           6.000000 08/07/2023                                                  [REDACTED]                                                                                               [REDACTED]    [REDACTED]     [REDACTED]     [REDACTED]           [REDACTED]         0.0%
12719-30             PETER MCNIERNEY                                                           3.000000 08/07/2023                                                  [REDACTED]                                                                                               [REDACTED]    [REDACTED]     [REDACTED]     [REDACTED]           [REDACTED]         0.0%
12719-69             REDCO II MASTER FUND L P                                             381,955.000000 08/07/2023                                     ONE LETTERMAN DRIVE                                           D3-300                            SAN FRANCISCO                     CA            94129          UNITED STATES                            23.6%
12719-70             REDMILE CAPITAL FUND LP                                               47,242.000000 08/07/2023                                     ONE LETTERMAN DRIVE                                           D3-300                            SAN FRANCISCO                     CA            94129          UNITED STATES                             2.9%
12719-71             REDMILE CAPITAL OFFSHORE MASTER FUND LTD                               7,984.000000 08/07/2023                                     ONE LETTERMAN DRIVE                                           D3-300                            SAN FRANCISCO                     CA            94129          UNITED STATES                             0.5%
12719-50             REDMILE CAPITAL OFFSHORE MASTER FUND LTD.                              5,322.000000 08/07/2023                                    C/O REDMILE GROUP LLC                ONE LETTERMAN DRIVE SUITE D3-300                            SAN FRANCISCO                     CA            94129          UNITED STATES                             0.3%
12719-72             REDMILE STRATEGIC MASTER FUND LP CLASS C                              15,838.000000 08/07/2023                                     ONE LETTERMAN DRIVE                                           D3-300                            SAN FRANCISCO                     CA            94129          UNITED STATES                             1.0%
12719-73             REDMILE STRATEGIC MASTER FUND LP CLASS D                              12,243.000000 08/07/2023                                     ONE LETTERMAN DRIVE                                           D3-300                            SAN FRANCISCO                     CA            94129          UNITED STATES                             0.8%
12719-13             ROBERT H WEISS                                                            6.000000 08/07/2023                                                  [REDACTED]                                   [REDACTED]                                                  [REDACTED]    [REDACTED]     [REDACTED]     [REDACTED]           [REDACTED]         0.0%
12719-76             RON FRISCH                                                               27.000000 08/07/2023                                                  [REDACTED]                                                                                               [REDACTED]    [REDACTED]     [REDACTED]     [REDACTED]           [REDACTED]         0.0%
12719-63             SANDRA PARELIUS                                                          15.000000 08/07/2023                                                  [REDACTED]                                                                                               [REDACTED]    [REDACTED]     [REDACTED]     [REDACTED]           [REDACTED]         0.0%
                                                                                  Case 24-10149-JKS                                Doc 1                 Filed 02/02/24                Page 10 of 21

 Account Number                                        Name                 Shares              Date Opened   Date Closed       Address1                       Address2                      Address3                City                     State            Zip     Country        Alternate Client ID   % of Total

12719-52          STIFEL NICOLAUS & COMPANY INC                                  3.000000 08/07/2023                           500 N BROADWAY 16TH FL                                                   ST LOUIS                         MO            63102          UNITED STATES                             0.0%
12719-59          SUSAN MCCLOCKLIN                                              31.000000 08/07/2023                                       [REDACTED]                                                                       [REDACTED]    [REDACTED]     [REDACTED]     [REDACTED]           [REDACTED]         0.0%
12719-51          THORNTON GROUT FINNIGAN LLP                                  152.000000 08/07/2023                        WELLINGTON ST W SUITE 3200                                                  TORONTO                          ON            M5K 1K7              CANADA                              0.0%
12719-20          TIMOTHY P COLLINS                                             22.000000 08/07/2023                                       [REDACTED]                                                                       [REDACTED]    [REDACTED]     [REDACTED]     [REDACTED]           [REDACTED]         0.0%
12719-26          VICTOR MANDEL                                                 49.000000 08/07/2023                                       [REDACTED]                                                                       [REDACTED]    [REDACTED]     [REDACTED]     [REDACTED]           [REDACTED]         0.0%
12719-64          VUKAS JOINT REVOCABLE TRUST AGREEMENT                         45.000000 08/07/2023                                210 MARGRAF COURT                                                   DYER                             IN            46311          UNITED STATES                             0.0%
12719-5           WILLIAM CUTLER                                                24.000000 08/07/2023                                       [REDACTED]                                                                       [REDACTED]    [REDACTED]     [REDACTED]     [REDACTED]           [REDACTED]         0.0%
12719-60          YOUR NIECE LIMITED                                           153.000000 08/07/2023                                10 DIRECTOR COURT                            SUITE 302              WOODBRIDGE                       ON            L4L 7E8              CANADA                              0.0%
                                                                             TotalShares: 1,620,243.000000
                                                                            Total Holders: 81

Jan 11, 2024                                                                                                                                                              8:42:04 PM                                                                                                              Page1

                  Estimate for Officers and BOD Members                          30,000

                  Total to reduce Listed Shares to arrive at Public Float      500,584
                                                                               677,507
                                                                             1,178,091
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Fill in this information to identify the case:

Debtor name         MedAvail, Inc.

United States Bankruptcy Court for the:     DISTRICT OF DELAWARE

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration     Corporate Ownership Statement; Compensation Statement of Attorneys

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       February 2, 2024                X
                                                             Signature of individual signing on behalf of debtor

                                                             Ramona Seabaugh
                                                             Printed name

                                                             Chief Financial Officer
                                                             Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
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                        RESOLUTIONS BY WRITTEN CONSENT

                               MEDAVAIL HOLDINGS, INC.
                                    MEDAVAIL INC.
                             MEDAVAIL TECHNOLOGIES, INC.
                            MEDAVAIL TECHNOLOGIES (US) INC.
                               MEDAVAIL PHARMACY, INC.

       The undersigned, being the members of the board of directors (the “Board”) of the
Delaware and Canadian (as applicable) entities listed above (the “Companies”), hereby adopt the
following resolutions by written consent (this “Consent”):

     WHEREAS, the Board has considered the financial and operational conditions of the
Companies’ businesses; and

       WHEREAS, the Board has reviewed, considered, and received the recommendation of
senior management of the Companies and the advice of the Companies’ professionals and advisors
with respect to the options available to the Companies, including the possibility of pursuing a
bankruptcy proceeding under Chapter 7 of title 11 of the United States Code (as amended, the
“Bankruptcy Code”);

         NOW, THEREFORE, BE IT RESOLVED, that after consideration of the alternatives
presented to it and the recommendations of senior management of the Companies and the advice
of the Companies’ professionals and advisors, the Board has determined in its business judgment
that it is in the best interests of the Companies, its creditors, shareholders, other interested parties,
and stakeholders that voluntary petitions be filed by the Companies under Chapter 7 of the
Bankruptcy Code in the United States Bankruptcy Court for the District of Delaware (the
“Bankruptcy Petitions”); and it is

        FURTHER RESOLVED, that Ramona Seabaugh and any other officer or person designated
and so authorized to act (each, an “Authorized Person”) are, and each hereby is, authorized,
empowered and directed, in the name and on behalf of the Companies (a) to execute, verify and
file on behalf of the Companies all documents necessary or appropriate in connection with the
filing of said Bankruptcy Petitions, including, without limitation, all petitions, affidavits,
declarations, schedules, statements of financial affairs, lists, motions, applications, pleadings, and
other papers or documents in connection with the Bankruptcy Petitions; (b) take and perform any
and all actions deemed necessary and proper to obtain such relief as authorized herein and in
connection with the Companies’ Chapter 7 cases (the “Bankruptcy Cases”); (c) appear as
necessary at bankruptcy proceedings on behalf of the Companies; and (d) pay all such expenses
where necessary or appropriate in order to carry out fully the intent and accomplish the purposes
of the resolutions adopted herein; and it is

       FURTHER RESOLVED, that the Authorized Persons are, and each of them hereby is,
authorized and directed to employ the law firm of Chipman Brown Cicero & Cole, LLP, as
counsel, BDO Consulting Group, LLC, as financial advisor, and Ramona Seabaugh, to assist the
Companies in filing for relief under Chapter 7 of the Bankruptcy Code and in carrying out the
Companies’ duties under Chapter 7 of the Bankruptcy Code, and the officers of the Companies are


                                                                                      1100159780\1\AMERICAS
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hereby authorized and directed to execute retention agreements, pay retainers and/or fees prior to
the filing of the Bankruptcy Cases; and it is

        FURTHER RESOLVED, that the Companies and any Authorized Person be and each hereby
is authorized and directed to pay (i) all accrued employee wages, vacation, and paid time off
through and including the date on which each such employee is terminated, and (ii) with respect
to employees subject to Canadian law, up to the statutory amount of $8,000 in regards to severance,
with all such amounts to be paid so as to be actually received by each affected employee on or
before the date on which the Bankruptcy Cases are filed; and it is

        FURTHER RESOLVED, that the Company and any Authorized Person be and each hereby
is authorized and directed to pay those employees subject to an employment agreement with the
Company all accrued wages and severance under such employment agreement (with such
severance payment limited to a maximum amount of $15,150.00) through the date on which
employee is terminated, with all such amounts to be paid so as to be actually received by each
affected employee on or before the date on which a Bankruptcy Cases are filed; and it is

         FURTHER RESOLVED, that all instruments, agreements, certificates, consents, waivers or
other documents heretofore executed and delivered (or caused to be executed and delivered) and
all acts lawfully done or actions lawfully taken by any Authorized Person in connection with the
Bankruptcy Cases, or any further action to seek relief on behalf of the Companies under Chapter
7 of the Bankruptcy Code, or in connection with the Bankruptcy Cases, or any matter related
thereto, be, and hereby are, adopted, ratified, confirmed and approved in all respects as the acts
and deeds of the Companies; and it is

         FURTHER RESOLVED, that the acts, actions and transactions heretofore taken by the
officers or the directors of the Companies in the name of and on behalf of the Companies in
furtherance of the purpose and intent of any or all of the foregoing resolutions, which acts, actions
and transactions would have been approved by the foregoing resolutions except that such acts were
taken before those resolutions were adopted, be, and hereby are, ratified, confirmed, and approved
in all respects.

       IN WITNESS WHEREOF, each of the undersigned directors, collectively constituting the
members of the Board, has executed this Consent on the date set forth below.


                               [SIGNATURE PAGE FOLLOWS]




                                                                                   1100159780\1\AMERICAS
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Name: Mark Doerr
Dated: February 1, 2024



Name: Rob Faulkner
Dated: February 1, 2024



Name: Michael Kramer
Dated: February 1, 2024



Name: Paul Johnson
Dated: February 1, 2024



Name: Laurie McGraw
Dated: February 1, 2024



Name: Glen Stettin, M.D.
Dated: February 1, 2024




                                                                    1100159780\1\AMERICAS
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B2030 (Form 2030) (12/15)
                                                        United States Bankruptcy Court
                                                                     District of Delaware
 In re       MedAvail, Inc.                                                                                   Case No.
                                                                              Debtor(s)                       Chapter       7

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.    Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
      compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
      be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                101,690.00
             Prior to the filing of this statement I have received                                        $                101,690.00
             Balance Due                                                                                  $                       0.00

2.    The source of the compensation paid to me was:

                  Debtor             Other (specify):

3.    The source of compensation to be paid to me is:

                  Debtor             Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

      a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
      b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
      c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
      d. [Other provisions as needed]


6.    By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                      CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     February 2, 2024                                                            Mark L. Desgrosseilliers
     Date                                                                     Mark L. Desgrosseilliers 4083
                                                                              Signature of Attorney
                                                                              Chipman Brown Cicero & Cole, LLP
                                                                              Hercules Plaza
                                                                              1313 North Market Street, Suite 5400
                                                                              Wilmington, DE 19801
                                                                              (302) 295-0192 Fax: (302) 295-0199
                                                                              desgross@chipmanbrown.com
                                                                              Name of law firm
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                                               United States Bankruptcy Court
                                                          District of Delaware
 In re   MedAvail, Inc.                                                                           Case No.
                                                                     Debtor(s)                    Chapter      7




                                   VERIFICATION OF CREDITOR MATRIX


I, the Chief Financial Officer of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true

and correct to the best of my knowledge.




Date:     February 2, 2024
                                                         Ramona Seabaugh/Chief Financial Officer
                                                         Signer/Title
                                                                        Case 24-10149-JKS               Doc 1    Filed 02/02/24      Page 17 of 21


Name                                                        Address 1                    Address 2              Address 3    City               State      Zip        Country         Email Address
Silicon Valley Bank                                         DLA Piper LLP                401 B Street           Suite 1700   San Diego          CA              92122 UNITED STATES
Eugene Holland                                              REDACTED                                                         REDACTED           REDACTED   REDACTED REDACTED
Paul Torre                                                  REDACTED                                                         REDACTED           REDACTED   REDACTED REDACTED
Cody Fort                                                   REDACTED                                                         REDACTED           REDACTED   REDACTED REDACTED
Ayla Bender                                                 REDACTED                                                         REDACTED           REDACTED   REDACTED REDACTED
Mark Doerr                                                  REDACTED                                                         REDACTED           REDACTED   REDACTED REDACTED
Casey McFall                                                REDACTED                                                         REDACTED           REDACTED   REDACTED REDACTED
Sample Sample                                               REDACTED                                                         REDACTED           REDACTED   REDACTED REDACTED
Harry Shelton                                               REDACTED                                                         REDACTED           REDACTED   REDACTED REDACTED
Elizabeth Gray                                              REDACTED                                                         REDACTED           REDACTED   REDACTED REDACTED
Kevin Stone                                                 REDACTED                                                         REDACTED           REDACTED   REDACTED REDACTED
Mahesh Murthy                                               REDACTED                                                         REDACTED           REDACTED   REDACTED REDACTED
Timothy Drane                                               REDACTED                                                         REDACTED           REDACTED   REDACTED REDACTED
Jacob Knavel                                                REDACTED                                                         REDACTED           REDACTED   REDACTED REDACTED
Jacqueline Detmar                                           REDACTED                                                         REDACTED           REDACTED   REDACTED REDACTED
Emilia Keric                                                REDACTED                                                         REDACTED           REDACTED   REDACTED REDACTED
Ramona Seabaugh                                             REDACTED                                                         REDACTED           REDACTED   REDACTED REDACTED
John Sharos                                                 REDACTED                                                         REDACTED           REDACTED   REDACTED REDACTED
Jessica Steiber                                             REDACTED                                                         REDACTED           REDACTED   REDACTED REDACTED
Lou Myers                                                   REDACTED                                                         REDACTED           REDACTED   REDACTED REDACTED
Gavindra Rewah                                              REDACTED                                                         REDACTED           REDACTED   REDACTED REDACTED
Jibansan Alakiyavel                                         REDACTED                                                         REDACTED           REDACTED   REDACTED REDACTED
Jose Arreaga                                                REDACTED                                                         REDACTED           REDACTED   REDACTED REDACTED
Derek Bessette                                              REDACTED                                                         REDACTED           REDACTED   REDACTED REDACTED
Manvir Bhambra                                              REDACTED                                                         REDACTED           REDACTED   REDACTED REDACTED
Constantin Bobolicu                                         REDACTED                                                         REDACTED           REDACTED   REDACTED REDACTED
David Butler                                                REDACTED                                                         REDACTED           REDACTED   REDACTED REDACTED
Andre Carvalho                                              REDACTED                                                         REDACTED           REDACTED   REDACTED REDACTED
Jacqui Detmar                                               REDACTED                                                         REDACTED           REDACTED   REDACTED REDACTED
Marco Dias                                                  REDACTED                                                         REDACTED           REDACTED   REDACTED REDACTED
Nikhil Dolly                                                REDACTED                                                         REDACTED           REDACTED   REDACTED REDACTED
Colin Fazzari                                               REDACTED                                                         REDACTED           REDACTED   REDACTED REDACTED
Emilian Florea                                              REDACTED                                                         REDACTED           REDACTED   REDACTED REDACTED
Danio Grant                                                 REDACTED                                                         REDACTED           REDACTED   REDACTED REDACTED
Chris Gullett                                               REDACTED                                                         REDACTED           REDACTED   REDACTED REDACTED
Gulnara Kenzhegaliyeva                                      REDACTED                                                         REDACTED           REDACTED   REDACTED REDACTED
Erin Komher                                                 REDACTED                                                         REDACTED           REDACTED   REDACTED REDACTED
Djordje Lekovic                                             REDACTED                                                         REDACTED           REDACTED   REDACTED REDACTED
Michael Mansell                                             REDACTED                                                         REDACTED           REDACTED   REDACTED REDACTED
Raymond Massey                                              REDACTED                                                         REDACTED           REDACTED   REDACTED REDACTED
Cassandra Maxwell                                           REDACTED                                                         REDACTED           REDACTED   REDACTED REDACTED
Jonathan Moore                                              REDACTED                                                         REDACTED           REDACTED   REDACTED REDACTED
Chaitra Morab Patil                                         REDACTED                                                         REDACTED           REDACTED   REDACTED REDACTED
Yeewah Mounsteven                                           REDACTED                                                         REDACTED           REDACTED   REDACTED REDACTED
Richard Ngo                                                 REDACTED                                                         REDACTED           REDACTED   REDACTED REDACTED
David Parzanese                                             REDACTED                                                         REDACTED           REDACTED   REDACTED REDACTED
Chanthuru Pushpathas                                        REDACTED                                                         REDACTED           REDACTED   REDACTED REDACTED
Hemanth Rudraram                                            REDACTED                                                         REDACTED           REDACTED   REDACTED REDACTED
Dave Toms                                                   REDACTED                                                         REDACTED           REDACTED   REDACTED REDACTED
Bayne Upton                                                 REDACTED                                                         REDACTED           REDACTED   REDACTED REDACTED
Stefan Vacaroaia                                            REDACTED                                                         REDACTED           REDACTED   REDACTED REDACTED
Errol Vicencio                                              REDACTED                                                         REDACTED           REDACTED   REDACTED REDACTED
Rodolfo Viduya                                              REDACTED                                                         REDACTED           REDACTED   REDACTED REDACTED
Ranil Wickramaratna                                         REDACTED                                                         REDACTED           REDACTED   REDACTED REDACTED
Olga Zmitrovich                                             REDACTED                                                         REDACTED           REDACTED   REDACTED REDACTED
Melrose Group LLC                                           34975 West Twelve Mile Rd                                        Farmington Hills   MI         48331      UNITED STATES   glenn.desrosiers@freg.com
Madno, LLC                                                                                                                                                                            ray@surfmanagement.com
Development Services of America, Inc.                       16100 North 71st St, #520                                        Saint Paul         MN         55101      UNITED STATES   Jayme_Bartholomew@sgagroup.com
BC C-1 LLC                                                  6911 Pistol Range Rd                                             Tampa              FL         33635      UNITED STATES   Jbray2727@mac.com
AMB Partners II Local, LP                                   1800 Wazee St, Suite 500                                         Denver             CO         80802      UNITED STATES
LCPF Realty Inc.                                            181 Bay Street, Suite 1400                                       Toronto            ON         M5J 2V1    CANADA          Laura.Clarke@colliers.com
The Delaware Department of State Division of Corporations   PO Box 898                                                       Dover              DE              19903 UNITED STATES
Department of the Treasury                                  Internal Revenue Service                                         Kansas City        MO              64999 UNITED STATES
California Franchise Tax Board                              PO Box 942857                                                    Sacramento         CA              94257 UNITED STATES


                                                                                                            Page 1 of 5
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Name                                              Address 1                          Address 2                Address 3   City              State     Zip        Country         Email Address
Massachusetts Department of Revenue               PO Box 7025                                                             Boston            MA             02204 UNITED STATES
Michigan Department of Treasury                   PO Box 30774                                                            Lansing           MI             48909 UNITED STATES
Oklahoma Tax Commission                           PO Box 26890                                                            Oklahoma City     OK             26890 UNITED STATES
Texas Comptroller of Public Accounts              PO Box 149348                                                           Austin            TX             78714 UNITED STATES
Wisconsin Department of Revenue                   PO Box 3028                                                             Milwaukee         WI             53201 UNITED STATES
Florida Department of Revenue                     5050 W Tennessee St                                                     Tallahassee       FL             32399 UNITED STATES
N.C. Department of Revenue                        PO Box 25000                                                            Raleigh           NC             27640 UNITED STATES
Louisiana Department of Revenue                   PO Box 91011                                                            Baton Rouge       LA             70821 UNITED STATES
Arizona Department of Revenue                     PO Box 52138                                                            Phoenix           AZ             85072 UNITED STATES
Benton County Assessor - AR                       2109 W Walnut St                                                        Rogers            AR             72756 UNITED STATES
Maricopa County Assessor - AZ                     301 W Jefferson St                 #330                                 Phoenix           AZ             85003 UNITED STATES
Pima County Assessor - AZ                         240 N Stone Ave                                                         Tuscon            AZ             85701 UNITED STATES
Pinal County Assessor - AZ                        31 N Pinal St                      #E                                   Florence          AZ             85132 UNITED STATES
Los Angeles County Assessor (Headquarters) - CA   P.O. Box 512102                                                         Los Angeles       CA        90051-0102 UNITED STATES
Orange County Assessor - CA                       500 S Main St                      2nd Floor                            Orange            CA             92868 UNITED STATES
San Bernardino County Assessor - CA               222 W. Hospitality Ln              3rd Floor                            San Bernardino    CA             92415 UNITED STATES
Brevard County Appraiser - FL                     400 South Street                   6th Floor                            Titusville        FL             32780 UNITED STATES
Citrus County Appraiser - FL                      1540 N. Meadowcrest Blvd           Suite 400                            Crystal River     FL             34429 UNITED STATES
Duval County Appraiser - FL                       231 E Forsyth St                   #260                                 Jacksonville      FL             32202 UNITED STATES
Hillsborough County Appraiser - FL                601 E Kennedy Blvd                 15th Floor                           Tampa             FL             33602 UNITED STATES
Lake County Appraiser - FL                        320 W Main St                                                           Tavares           FL             32778 UNITED STATES
Marion County Appraiser - FL                      501 SE 25th Ave                                                         Ocala             FL             34471 UNITED STATES
Miami-Dade County Appraiser - FL                  PO Box 01-3140                                                          Miami             FL             33101 UNITED STATES
Orange County Appraiser - FL                      200 S Orange Ave                   Suite 1700                           Orlando           FL             32801 UNITED STATES
Osceola County Appraiser - FL                     2505 E Irlo Bronson Memorial Hwy                                        Kissimmee         FL             34744 UNITED STATES
Pasco County Appraiser - FL                       Post Office Box 276                                                     Dade City         FL        33526-0276 UNITED STATES
Pinellas County Appraiser - FL                    2500 34th St N                     2nd Floor                            St. Petersburg    FL             33713 UNITED STATES
Polk County Appraiser - FL                        255 N Wilson Ave                                                        Bartow            FL             33830 UNITED STATES
Seminole County Appraiser - FL                    1101 E 1st St                                                           Sanford           FL             32771 UNITED STATES
Volusia County Appraiser - FL                     123 West Indiana Ave               Room 102                             DeLand            FL             32720 UNITED STATES
Palm Beach County Appraiser - FL                  301 N Olive Ave                    First Floor                          West Palm Beach   FL             33401 UNITED STATES
Grant Parish Assessor - LA                        200 Main St                                                             Colfax            LA             71417 UNITED STATES
Dallas County Appraiser - TX                      2949 N Stemmons Fwy                                                     Dallas            TX             75247 UNITED STATES
Travis County Appraiser - TX                      850 East Anderson Ln                                                    Austin            TX             78752 UNITED STATES
Ty Frankel and Patti Syverson, Frankel Syverson   2375 E. Camelback Rd               Suite 600                            Phoenix           AZ             85016 UNITED STATES
WHANG LAW FIRM                                    21800 Oxnard St                    Suite 470                            Woodland Hills    CA             91367 UNITED STATES
UPS USD Account 8US1A14A17                        28013 Network Place                                                     Chicago           IL        60656-4239 UNITED STATES
8610428 Canada Inc.                               286 Monarch Park Ave.                                                   Toronto           ONTARIO   M4J4T1     CANADA
ALG Worldwide Logistic, LLC                       745 Dillon Dr.                                                          Wood Dale         IL        60191      UNITED STATES
Bell Canada                                       P.O.Box 9000                       Stn Don Mills                        North York        ON        M3C 2X7    CANADA
Bell Account 537414209                            PO Box 3650 Station Don Mills                                           Toronto           ON        M3C 3X9    CANADA
Bell Mobility                                     PO Box 5102                                                             Burlington        ON        L7R 4R7    CANADA
Daniel's Moving & Storage, Inc.                   6131 W Van Buren St                                                     Phoenix           AZ        85043      UNITED STATES
Datasite LLC                                      PO Box 74007252                                                         Chicago           IL        60674-7252 UNITED STATES
Chicago 1 LLC dba Element Critical                7990 Quantum Drive                                                      Vienna            VA        22182      UNITED STATES
Iron Mountain                                     PO Box 3527                                                             Toronto           ON        M5W 1G8 CANADA
Microsoft Corporation                             One Microsoft Way                                                       Redmond           WA        98052      UNITED STATES
Prime Technology Group LLC                        940 West Valley Rd., Suite 1500                                         Wayne             PA        19087      UNITED STATES
ProServeIT Corporation                            6700 Century Ave                   Unit 104                             Mississauga       ON        L5N 6A4    CANADA
RingCentral Inc.                                  20 Davis Drive                                                          Belmont           CA        94002      UNITED STATES
Rogers Business Solutions                         P.O.Box 2000 Stn. D                                                     Scarborough       ON        M1R 5P4    CANADA
RSM US LLP                                        1201 West Peachtree Street                                              Atlanta           GA        30309      UNITED STATES
Snowflake Inc.                                    450 Concar Drive                                                        San Mateo         CA        94402      UNITED STATES
Softchoice                                        173 Dufferin                       Suite 200                            Toronto           ON        M6K 3H7    CANADA
Teema Solutions                                   317-1080 Mainland Street                                                Vancouver         BC        V6B 2T4    CANADA
ULine                                             PO Box 88741                                                            Chicago           IL        60680      UNITED STATES
UPS Canada Account A81W89                         PO Box 4900 Station A                                                   Toronto           ON        M5W 0A7    CANADA
Velocity                                          PO Box 1179                        Holland                              Holland           OH        43528      UNITED STATES
WASTECO                                           150 ORENDA ROAD                                                         BRAMPTON          ONTARIO   L6W 1W3 CANADA
BGSF PROFESSIONAL, LLC                            P.O. BOX 660282                                                         Dallas            TX        75266-0282 UNITED STATES
LifeSci Advisors, LLC                             250 West 55th Street, 34th floor                                        New York          NY        10019      UNITED STATES
Rivers & Moorehead PLLC                           398 S. Mill Avenue, Suite 307                                           Tempe             AZ        85281      UNITED STATES
Solium Capital ULC                                58 S River Dr. Suite 401                                                Tempe             AZ        85281      UNITED STATES
Cox Communications Arizona, LLC.                  1550 W. Deer Valley Road                                                Phoenix           AZ        85027      UNITED STATES
Culligan Water                                    Department 8973                    P.O. Box 77043                       Minneapolis       MN        55480-7743 UNITED STATES



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Name                                                Address 1                           Address 2                      Address 3   City                State    Zip        Country         Email Address
Inmar Rx Solutions, Inc.                            635 Vine St.                                                                   Winston-Salem       NC       27101      UNITED STATES
McKesson Pharmacy Systems, LLC                      30881 Schoolcraft Road                                                         Livonia             MI       48150      UNITED STATES
Minkus Advertising Specialties                      6401 East Twenty Second street                                                 Tucson              AZ       85710-5104 UNITED STATES
Compass Group Inc.                                  2629 Dickerson Parkway                                                         Carrollton          TX       75007      UNITED STATES
Stericycle Inc.                                     19 Armthorpe Road                                                              Brampton            ON       L6T 5M4    CANADA
TECO Tampa Electric                                 PO Box 111                                                                     Tampa               FL            33601 UNITED STATES
DF King                                             48 Wall Street - 22 Floor                                                      New York            NY       10005      UNITED STATES
BDO                                                 5300 Patterson Ave. SE              Suite 100                                  Grand Rapids        MI       49512      UNITED STATES
Microsoft Canada Inc.                               PO Box 9433, Postal Station A                                                  Toronto             ON       M5W4E1     CANADA
Classic Fire                                        645 Garyray Drive                                                              North York          ON       M9L 1P9    CANADA
Torkin Manes                                        Barristers & Solicitors             151 Yonge Street, Suite 1500               Toronto             ON       M5C 2W7 CANADA
Pharmapoint                                         2 Perimeter Park S                  STE300E                                    Birmingham          AL            35243 UNITED STATES
MYOS                                                45 Horsehill Road                   Suite 105A                                 Cedar Knolls        NJ            07927 UNITED STATES
ADT                                                 1501 Yamato Road                                                               Boca Raton          FL            33431 UNITED STATES
Frontier Communications                             PO Box 709                                                                     South Windsor       CT       06074-9998 UNITED STATES
Parata                                              106 Roche Drive                                                                Durham              NC       27703      UNITED STATES
CSC Corporation Service Company                     2710 Gateway Oaks Drive                                                        Sacramento          CA       95833-3505 UNITED STATES
Abell Pest Control                                  3075 Ridgeway Dr. Unit 27                                                      Mississauga         ON       L5L 5M6    CANADA
Contractlogix                                       248 Mill Road                       Building 1, Unit 3                         Chelmsford          MA       01824      UNITED STATES
Enterprise Holdings BC SSC                          13160 88 Ave                                                                   Surrey              BC       V3W 3K3    CANADA
First Class Commercial of Orlando                   1020 Crews Commercial Drive         Suite 110                                  Orlando             FL       32837      UNITED STATES
McMaster-Carr                                       PO Box 7690                                                                    Chicago             IL       60680-7690 UNITED STATES
Misty Mountain Technologies Inc.                    2302 Vista Oak Drive                                                           Oakville            ON       L6M 3L6    CANADA
Nuvollo Corp.                                       27 Fairmont Crescent                                                           Toronto             ON       M4L 2H3    CANADA
Quadbridge Inc.                                     3800 St. Patrick St.                Suite 102                                  Montréal            Québec   H4E 1A4    CANADA
Squire Patton Boggs US LLP                          1000 Key Tower, 127 Public Square                                              Cleveland           Ohio     44114      UNITED STATES
WebSan Solutions Inc.                               245 Fairview Mall Drive             Suite 200                                  Toronto             ON       M2J 4T1    CANADA
Broadridge Investor Communication Solutions, Inc.   51 Mercedes Way                                                                Edgewood            NY       11717      UNITED STATES
CompIntelligence, Inc.                              56 Driftway Lane                                                               New Canaan          CT       06840      UNITED STATES
SingerLewak LLP                                     10960 Wilshire Blvd, Suite 1100                                                Los Angeles         CA       90024      UNITED STATES
Inflow Communications, Inc.                         9450 SW Gemini Dr #54242                                                       Beaverton           OR       97008-7105 UNITED STATES
Baker Tilly US LLP                                  PO Box 7398                                                                    Madison             WI       53707-7398 UNITED STATES
Ernst & Young U.S. LLP                              200 Plaza Drive                                                                Secaucus            NJ       07094      UNITED STATES
Price Waterhouse Coopers LLP                        PWC Tower 18 York Street, Suite 2600                                           Toronto             ON       M5J 0B2    CANADA
AMI Benefit Plan                                    100 Terra Bella Dr.                                                            Youngstown          OH       44505      UNITED STATES
Curalinc, LLC                                       314 West Superior Street, Suite 601                                            Chicago             IL       60654      UNITED STATES
Fidelity Security Life Insurance Co.                162 Prospect Hill Road              Suite 101B                                 Brewster            NY            67288 UNITED STATES
Resources Connection Inc.                           17101 Armstrong Ave.                                                           Irvine              CA       92614      UNITED STATES
New Enterprise Ventures, LLC                        10027 Kendale Road                                                             Potomac             MD       20854      UNITED STATES
Raul Vega Creative LLC                              1813 N 111th LN                                                                Avondale            AZ       85392      UNITED STATES
Able Machinery Movers, LLC                          600 Westport Pkwy                                                              Grapevine           TX       76051      UNITED STATES
Prime Therapeutics LLC                              PO Box 860450                                                                  Minneapolis         MN       55486-0450 UNITED STATES
HyGen Pharmaceuticals, Inc.                         8635 154th Ave NE Suite #100                                                   Redmond             WA       98052      UNITED STATES
OpenSesame Inc.                                     1629 SW Salmon St                                                              Portland            OR       97205      UNITED STATES
Muldoon's                                           5680 Timberlea Boulevard                                                       Mississauga         ON       L4W 4M6    CANADA
Bucketlist                                          1930 Pandora Street                 Unit 311                                   Vancouver           BC       V5L 0C7    CANADA
image360 Brookfield                                 3415 N. 127th St., Suite 200                                                   Brookfield          WI       53005      UNITED STATES
CEVA Freight Canada Corp.                           1880 Matheson Blvd. E.                                                         Mississauga         ON       L4W 5N4    CANADA
Digi-Key Electronics                                701 Brooks Ave South                                                           Thief River Falls   MN       56701-0677 UNITED STATES
Livingston USD                                      PO Box 70                                                                      Fort Erie           ON       L2A 5M6    CANADA
Microart Services, inc.                             190 Duffield Drive                                                             Markham             ON       L6G 1B5    CANADA
UCP Inc.                                            7200 W. Post Rd. Suite 100          Dock 2                                     Las Vegas           NV       89113      UNITED STATES
Uline Canada Corporation                            Box 3500                            RPO Streetsville                           Mississauga         ON       L5M 0S8    CANADA
Jones DesLauriers Insurance Management Inc.         2375 Skymark Avenue                                                            Mississauga         ON       L5N 5M4    CANADA
ASL Print FX                                        1 Royal Gate Blvd.                  Unit A                                     Vaughan             ON       L4L 8Z7    CANADA
Beanworks Solutions                                 1159 Hamilton Street                                                           Vancouver           BC       V6B 5P6    CANADA
CAD MicroSolutions Inc.                             65 International Blvd.                                                         Toronto             ON       M9W 6L9    CANADA
Fivetran Inc.                                       405 14th Street, Suite 1100                                                    Oakland             CA       94612-2707 UNITED STATES
Google Cloud Canada Corporation                     1959 Upper Water Street                                                        Halifax             NS       B3J 3N2    CANADA
Hut 8 High Performance Computing Inc.               745 Thurlow Street                  Suite 2400                                 Vancouver           BC       V6E 0C5    CANADA
Retail Management Solutions                         4535 Lacey Blvd SE                                                             Lacey               WA       98503      UNITED STATES
Mastercard - G Burrows                              6665 Millcreek Drive                                                           Mississauga         ON       L5N 5M4    CANADA
Mastercard - M Mckinzey                             6665 Millcreek Drive, Unit 1                                                   Mississauga         ON       L5N5M4     CANADA
SmartBear Software, Inc.                            450 Artisan Way, Suite 400                                                     Somerville          MA       02145      UNITED STATES
Desandro Law Group LLC                              P.O.Box 26262                                                                  Phoenix             AZ       85068      UNITED STATES



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Name                                                   Address 1                            Address 2                         Address 3   City               State      Zip         Country         Email Address
Stubbs Alderton & Markiles, LLP                        15260 Ventura Blvd., 20th floor                                                    Sherman Oaks       CA         91403       UNITED STATES
Wilson Sonsini Goodrich & Rosati                       PO Box 742866                                                                      Los Angeles        CO         90074-2866 UNITED STATES
Quarles & Brady LLP                                    300 N LaSalle Street                 Suite 4000                                    Chicago            IL         60654       UNITED STATES
Goodwin Procter LLP                                    100 Northern Avenue                                                                Boston             MA         02210       UNITED STATES
Staples Business Advantage                             PO BOX 4446 STN A                                                                  Toronto            ON         M5W4A2      CANADA
Ceridian Canada Ltd.                                   675 Cochrane Drive                                                                 Markham            ON         L3R 0B8     CANADA
Cigna Healthcare                                       1700 Lincoln Street, Lower Level 3                                                 Denver             CO         80274       UNITED STATES
Sunlife Life Assurance Company of Canada               227 King Street South                                                              Waterloo           ON         N2J 1R2     CANADA
Manulife Financial                                     PO Box 1627                                                                        Waterloo           ON         N2J4P4      CANADA
Auto-Star                                              636 11th Avenue SW                                                                 Medicine Hat       Alberta    T1A 1E1     CANADA
Health Care Logistics                                  PO Box 400                                                                         Circleville        OH         43113-0400 UNITED STATES
AST American Stock Transfer & Trust Company LLC        6201 15th Avenue                                                                   Brooklyn           NY         11219       UNITED STATES
Equiniti Company, LLC                                  6201 15th Avenue                                                                   Brooklyn           NY         11219       UNITED STATES
Gowling WLG (Canada) LLP                               1 Forst Canadian Place, 100 King Street West                                       Toronto            ON         M5X1G5      CANADA
Mediant Communications Inc.                            400 Regency Forest Drive, Suite 200                                                Cary               NC         27518       UNITED STATES
Toppan Merrill USA Inc.                                1501 Energy Park Drive                                                             St. Paul           MN         55108-5229 UNITED STATES
Protocase                                              46 Wabana Court                      Harbourside Industrial Park                   Sydney             NS         B1P 0B9     CANADA
HireRight, LLC                                         PO Box 847891                                                                      Dallas             TX         75284-7891 UNITED STATES
Hewlett-Packard Financial Services Canada              5150 Spectrum Way                                                                  Mississauga        ON         L4W5G2      CANADA
Melrose Twenty LLC                                     211 Blvd of the Americas             Suite 113                                     Lakewood           NJ         08701       UNITED STATES
GWL Realty Advisors Inc                                1 City Centre Drive, Suite 300                                                     Mississauga        ON         L5B 1M2     CANADA
Technical Specialties & Applications Inc.              100 1/2 N.Saginaw                                                                  Pontiac            MI         48342       UNITED STATES
Canway Cleaning and Supplies Inc.                      404 Stanfield drive                                                                Oakville           ON         L6L 3P8     CANADA
JPM Construction Inc.                                  101 Citation Drive                   Unit 1 & w                                    Concord            ON         L4K 2S4     CANADA
Jani-King of Phoenix                                   PO Box 845537                                                                      Los Angeles        CA         90084-5537 UNITED STATES
BeOkey Industries Co., Limited                         Yangyong Industrial Zone                                                           SongGang           ShenZhen               CHINA
Misumi USA Inc                                         1717 Penny Lane Suite 200                                                          Schaumburg         IL         60173       UNITED STATES
Corporation Service Company                            2711 Centerville Road                Suite 400                                     Wilmington         DE         19808       UNITED STATES
CSC                                                    251 Little Falls Drive                                                             Wilmington         DE         19808-1674 UNITED STATES
Mastercard - E Kildroy                                 6665 Millcreek Drive                                                               Mississauga        ON         L5N 5M4     CANADA
The Flight Shops Inc. - Corporate Traveller South We   1315 North Service Road E Suite 102                                                Oakville           ON         L6H1A7      CANADA
ACC Business                                           400 West Ave.                                                                      Rochester          NY         14611       UNITED STATES
CenturyLink                                            PO BOX 52187                                                                       Phoenix            AZ         85072-2187 UNITED STATES
Comcast Business                                       PO BOX 70219                                                                       Philadelphia       PA         19176-0219 UNITED STATES
Comcast Cable Communications Management, LLC           2001 York Rd. 5th Floor                                                            Oak Brook          IL         60523       UNITED STATES
Divvy                                                  13707 S. 200 W.                                                                    Draper             UT         84020       UNITED STATES
Enbridge Gas Distribution                              PO Box 650                                                                         Scarborough        ON         M1K 5E3     CANADA
Enersource                                             3240 Mavis Road                                                                    Mississauga        ON         L5C 3K1     CANADA
OUC                                                    PO Box 31329                                                                       Tampa              FL         33631-3329 UNITED STATES
Southern California Edison                             PO Box 6400                                                                        Rancho Cucamonga CA           91729       UNITED STATES
Spectrum Business                                      4145 S. Falkenburg Rd.                                                             Riverview          FL         33578-8652 UNITED STATES
AT&T                                                   675 WWest Peachtree Street W                                                       Atlanta            GA         30308       UNITED STATES
Verizon                                                PO BOX 489                                                                         Newark             NJ         07101-0489 UNITED STATES
HP Financial Services                                  200 Connell Drive                    Suite 5000                                    Berkeley Heights   NJ         07922       UNITED STATES
VAR Technology Finance                                 2330 Interstate 30                                                                 Mesquite           TX               75150 UNITED STATES
Toshiba Business Solutions                             PO Box 660831                                                                      Dallas             TX         75266-0831 UNITED STATES
All Copy Products                                      PO Box 41602                                                                       Philadelphia       PA         19101-1602 UNITED STATES
Epic Systems Corporation                               1979 Milky Way                                                                     Verona             WI         53593       UNITED STATES
RELX Inc. DBA LexisNexis                               PO Box 733106                                                                      Dallas             TX         733106      UNITED STATES
LexisNexis Canada Inc.                                 PO Box 46212, Postal Stn A                                                         Toronto            ON         M5W4K9      CANADA
Salesforce.com                                         PO BOX 4090 STN A                                                                  Toronto            ON         M5W0E9      CANADA
Bytecode IO, Inc.                                      1501 North Broadway                  Suite 440                                     Walnut Creek       CA         94596       UNITED STATES
Qualtrics, LLC                                         333 W. River Park Dr                                                               Provo              UT         84604       UNITED STATES
Wolters Kluwer Clinical Drug Information               PO Box 412094                                                                      Boston             MA         02241-2094 UNITED STATES
ETHICS SUITE LLC                                       28150 N. Alma School Rd              Suite 103-215                                 Scottsdale         AZ         85262       UNITED STATES
Admiral Air Express, Inc. dba ALG Admiral, Inc.        745 Dillon Drive                                                                   Wood Dale          IL               60191 UNITED STATES
Payworks, Inc.                                         1565 Willson Place                                                                 Winnipeg           MB             R3T 4H1 Canada
Endeavour Solutions Inc.                               2233 Argentia Road                   Suite 300E                                    Mississauga        ON         L5N 2X7     CANADA
Paychex Business Solutions, LLC                        970 Lake Carillon Drive              Suite 400                                     St. Petersburg     FL               33716 UNITED STATES
Workiva Inc.                                           2900 University Blvd                                                               Ames               IA         50010       UNITED STATES
Goodlife Fitness Centres Inc.                          225 Select Avenue, Suite 204                                                       Toronto            ON         M1X0B5      CANADA
OTRS                                                   19925 Stevens creek Blvd                                                           Cupertino          CA
Amir Rubin                                             14 Buck Meadow Drive                                                               Portola Valley     CA             94028 UNITED STATES
Ryan Ferguson                                          2950 E Appaloosa Rd                                                                Gilbert            AZ             85296 UNITED STATES
Federal Insurance Company                              202B Hall's Mill Road                                                              Whitehouse Station NJ              8889 UNITED STATES



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Name                                                      Address 1                                Address 2                  Address 3     City               State   Zip        Country         Email Address
Chubb European Group SE (UK)                              100 Leadenhall Street                                                             London                     EC3A 3BP UK
Valley Forge Insurance Company                            151 N. Franklin Street                                                            Chicago            IL           60606 UNITED STATES
National Fire Insurance Company of Hartford               151 N. Franklin Street                                                            Chicago            IL           60606 UNITED STATES
Chubb ACE American Insurance Company                      2155 West Pinnacle Peak Road             Suite 205                                Phoenix            AZ      85027-1215 UNITED STATES
National Union Fire Insurance Company of Pittsburg, PA.   1271 Ave of the Americas                 FL 37                                    New York           NY           10020 UNITED STATES
Lloyd's of London                                         One Lime Street                                                                   London                     EC3M 7HA UK
Wesco Insurance Company                                   P.O. Box 318004                                                                   Cleveland          OH      44131-880 UNITED STATES
XL Specialty Insurance Company                            505 Eagleview Blvd.                      Suite 100                                EXTON              PA      19341-1120 UNITED STATES
Beazley Syndicates AFB                                    30 Batterson Park Road                                                            Farmington         CT      06032      UNITED STATES
Alliant Insurance Services, Inc.                          2415 E Camelback Rd.                     Suite 950                                Phoenix            AZ           85016 UNITED STATES
Curant Health of Florida                                  200 Technology Court SE                  Suite B                                  Smyrna             GA           30082 UNITED STATES
Franciscan Missionaries of Our Lady                       7777 Hennessy Blvd.                      Suite 2003B                              Baton Rouge        LA           70808 UNITED STATES
Pride Pharmacy-Carlisle                                   4003 Lemmon Ave                                                                   Dallas             TX           75219 UNITED STATES
Progressive Care, Inc.                                    400 Ansin Blvd                           Suite A                                  Hallandale Beach   FL           33009 UNITED STATES
Pharmacy Fund 1, Inc                                      4003 Lemmon Ave                                                                   Dallas             TX           75219 UNITED STATES
St. Thomas Community Health Center                        1936 Magazine St.                                                                 New Orleans        LA           70130 UNITED STATES
Scripx                                                    601 W. Farm to Market 544                Suite 102                                Murphy             TX           75094 UNITED STATES
Shands Teaching Hospital and Clinics, Inc                 1600 SW Archer Road                      PO Box 100367                            Gainesville        FL      32610-0316 UNITED STATES
Texas Health Resources                                    612 E lamar Blvd                         Suite 600                                Arlington          TX           76011 UNITED STATES
Maxor National Pharmacy Services, LLC                                                                                                                                                             bkelly@maxor.com
Gerald Gradwell                                           4720 E Cotton Gin Loop                   Suite 220                                Phoenix            AZ           85040 UNITED STATES
Glen Stettin                                              4720 E Cotton Gin Loop                   Suite 220                                Phoenix            AZ           85040 UNITED STATES
Laurie McGraw                                             4720 E Cotton Gin Loop                   Suite 220                                Phoenix            AZ           85040 UNITED STATES
Mike Kramer                                               4720 E Cotton Gin Loop                   Suite 220                                Phoenix            AZ           85040 UNITED STATES
Paul D Johnson                                            4720 E Cotton Gin Loop                   Suite 220                                Phoenix            AZ           85040 UNITED STATES
Securities & Exchange Commission                          100 F Street, NE                                                                  Washington         DC           20549 UNITED STATES
Securities & Exchange Commission, Regional Director       Brookfield Place                         200 Vesey Street           Suite 400     New York           NY      10281-1022 UNITED STATES
Internal Revenue Service                                  P.O. Box 7346                                                                     Philadelphia       PA      19101-7346 UNITED STATES
Delaware State Treasury                                   820 Silver Lake Blvd                     Suite 100                                Dover              DE           19904 UNITED STATES
Secretary of State                                        Division of Corporations                 P.O. Box 898                             Dover              DE           19903 UNITED STATES
Joseph McMahon, Jr., Esquire                              Office of the United States Trustee      844 King St                Suite 2207    Wilmington         DE           19801 UNITED STATES
David C. Weiss, Esquire                                   United States Attorney, District of DE   1313 N Market St           PO Box 2046   Wilmington         DE           19801 UNITED STATES




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